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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

  In re:                                            )         Chapter 11
                                                    )
  B GSE GROUP, LLC,                                 )         Case No. 23-30013
                                                    )
                                Debtor.             )

                  EX PARTE MOTION FOR ORDER SHORTENING NOTICE

        NOW COMES debtor B GSE Group, LLC (the “Debtor”), by this ex parte motion, and
respectfully requests the entry of an Order shortening the prescribed notice of the Motion for
Approval of Asset Sale (the “Motion”) [Doc. 172]. In support thereof, the Debtor states as
follows:

       1.     An expedited hearing on the Motion is necessary so that it may be considered
along with confirmation of the Debtor’s plan of reorganization pursuant to section 1123 of the
Bankruptcy Code.

        2.    The Debtor respectfully requests that this Court shorten the required notice period
for the Motion pursuant to Bankruptcy Rule 9006 so that a hearing can be held on May 11, 2023
at 9:30 a.m. before the Honorable J. Craig Whitley, at the United States Bankruptcy Court,
Charles Jonas Federal Building, LTB Courtroom 2B, 401 West Trade Street, Charlotte, North
Carolina.

         3.     The Court previously set a hearing date of May 11, 2023 in this matter, with the
requirement that the Motion be filed on or before today’s date (May 1, 2023). The Debtor has
filed its Sale Motion on the timeline mandated by the Court.

       WHEREFORE, the Debtor prays the Court to shorten the applicable notice period as set
forth above, and for such other relief as is just and proper.

Dated: Charlotte, North Carolina
       May 1, 2023

                                                   MOON WRIGHT & HOUSTON, PLLC

                                                          /s/ Richard S. Wright
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MWH: 10782.001; 00028463.1
